






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-12-00337-CV






Jody Albrecht, Appellant


v.


Edgar H. Albrecht, Jr., Appellee






FROM THE COUNTY COURT AT LAW NO. 2 OF WILLIAMSON COUNTY

NO. 10-1425-FC2, HONORABLE TIMOTHY L. WRIGHT, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N



		Appellant Jody Albrecht has filed a notice of bankruptcy.  See Tex. R. App. P. 8.1. 
We therefore abate this appeal until a party files a motion to reinstate or a motion to sever.  See Tex.
R. App. P. 8.2, 8.3.  Appellant is ordered to inform this Court of the resolution of the bankruptcy
proceeding or some other event that would allow this appeal to be reinstated.  Should appellant fail
to provide such notice, the appeal will be subject to dismissal for want of prosecution on this Court's
or another party's motion.  See Tex. R. App. P. 42.3(b), (c).


					__________________________________________

					Melissa Goodwin, Justice

Before Justices Puryear, Henson and Goodwin

Bankruptcy

Filed:   June 22, 2012


